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Fi|l in this information to identif

, »~\ UN|TED STATES BANKRUPTCY COURT D|STR|CT OF COLORADO

 

 

Debtor 1; Dennis K. Obduskey Case # 18-18627 JGR
First Name l\/liddle Name Last Name

Debtor 2: Chapter 13
First Name l\/liddle Name Last Name

 

Local Bankruptcy Form 3015-1.1
2nd Amended Chapter 13 P|an
lnc|uding Valuation of Collateral and Classification of Claims

 

Complete applicable sections This chapter 13 plan dated 4/18/19 [monthldaylyear] supersedes all previously filed
plans.

mtices _

1.1. To Creditors: TH|S PLAN MAY MOD|FY YOUR RIGHTS. lf you oppose any provision of the plan you must file a
Written objection with the bankruptcy court by the deadline fixed by the courtl (Applicable deadlines given by
separate notice.) lf you do not file a timely objection, you Will be deemed to have accepted the terms of the plan,
Which may be confirmed Without further notice or hearing Creditors must file timely proofs of claim in order to
receive the applicable payments

1.2 Nonstandard provisions
El This plan contains nonstandard provisions, set out in Part 12 of the plan.
»" 1.3. Motions for Valuation of Collatera| and Determination of Secured Status under 11 U.S.C. § 506

|___l This plan contains a motion for valuation of personal property collateral and determination of secured status
under 11 U.S.C. § 506. Additional details are provided in Part 7.4 of this plan.

l:l The debtor is requesting a valuation of real property collateral and determination of secured status under 11
U.S.C. § 506 by separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan.
Status of motion'.

 

[|ist status of motion here (i_.e._ date filed, date granted, to be filed contemporaneously, etc.)]
1.4. Motions for Lien Avoidance 11 U.S.C. § 522(f)

[j The debtor is requesting avoidance cfa judicial lien or nonpossessory, non-purchase-money security interest
under 11 U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of
motion:

 

[|ist status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]

Background information

2.1 Prior bankruptcies pending within one year of the petition date for this case:

 

Case Number & Chapter Discharge or DismissallConversion Date
2016-17141 JGR Dismissal 9I28/2018

2.2 Discharge: The debtor(s):
[§| is eligible for a discharge;
OR
[:] is not eligible for a discharge and is not seeking a discharge

 

 

 

 

 

 

2.3 Domicile & Exemptions:

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Prior states of domicile:

hen within 730 days ____

f within 910 days ____
The debtor is claiming exemptions available in the iii state of

 

2.4
§ 101 (14A). Notice shall be provided to these parties in interest:

A. Spouse/Parent:

 

[ldentify]
B. Government:

 

[ldentify]
C. Assignee or Other:

 

[ldentify]

D. The Debtor
Obligation recipient, or
available

CO [state] or [:l federal exemptions

Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.

has provided the Trustee with the address and phone number of the Domestic Support
cannot provide the address or phone number because it/they is/are not

E. The current monthly income of the debtor, as reported on Official form 1220-1 or 1220-2, as applicable, is

@ below, [:i equal to, orl:} above the applicable median income

Wan Analysis

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1 Total Debt Provided for under the P|an and Administrative Expenses
A. Total Priority Claims (Class One)
1. Unpaid attorney's fees $ 2,745.00
~. (tota| attorney's fees are estimated to be $ 4,100.00 [amount] of which
$ 1,355.00 [amount] has been prepaid)
2. Unpaid attorney‘s costs (estimated) $ 00.00
3. Total taxes $ *2,868.00
(Federal $*gg [amount]; State $*2,868.00 [amount]; Other $0.00 [amount])
B. Total cf payments to cure defaults (Class Two) $ 0.00
C. Total payment on secured claims (Class Three) $ 0.00
D. Total of payments on unsecured claims (Class Four) $ *17,901.00
E. Sub~TOta| $ *23,514.00
F. Total trustee's compensation (10%) of debtor's payments) __________________________________________________________________ $ *2,352.00
G. Total debt and administrative expenses $ *25,866.00
3.2 Reconciliation with Chapter 7
A. The net property values set forth below are liquidation values rather than replacement values The
replacement values may appear in Class Three of the plan.
B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
1. Value of debtor's interest in non-exempt property $ *24,200.00
Property Value Less costs of Less liens X Debtor's Less = Net Value
sale lnterest Exemptions
604 Alpine Avenue *135,000.00 *10,800.00 0.00 100% 105,000.00 *19,200.00
Pueb|o, CO 81005
Proceeds from Chap 13 5000 0 0 100% 0 5000
Trustee estimated
amount
§ Acom securities LLc 7.25 7.25 0 100% 0 0
| Total o.oo o.oo 0 0.00 *24,200
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.U":l>.°°!\)

(if negative, enter zero)

C. Estimated payment to Class Four unsecured creditors under the Chapter 13 P|an plus
any funds recovered from "other property" described in Part 4.1.D below.

Plus: value of property recoverable under avoiding powers:
Less: estimated Chapter 7 administrative expenses:
Less: amounts payable to priority creditors:

Equals: estimated amount payable to Class Four creditors if Chapter 7 filed

s o.oo
$ *3,500.00
s *2,868.00
$
$

*17,832.00

*17,901.00

mroperties and Future Earning§ Subject to the Supervision and Control of the Trustee

4.1

Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the
debtor's future earnings or other future income as is necessary for the execution of the Plan, including:

A. Future earnings which shall be paid to the trustee for a period of approximately §0_ [#] months,
beginning 11l1l2018 [monthldaylyear] as follows:

 

 

 

 

 

 

 

 

 

B.
Number of Payments Amount of Payments Total
*6 594.00 *3,564
*54 *413 *22,302
*Non Exempt Portion of FDCPA claim Unknown Unknown
Total of monthly payments *25,866

 

4.2

C. Amounts for the payment of Class Five post-petition claims included in above: $__ [amount]

D. Other property:

 

[specify].

Payments: The debtor agrees to make payments under the Plan as follows:

l:j Voluntary wage assignment to employer: Paid in the following manner: $___ [amount] to be
deducted ___ [time period, e.g., week|y, monthly, per pay period, etc.]. Employer's Name, address

telephone number:

 

[name, address, telephone number].

OR

j_§| Direct payment: from debtor to Trustee

class one - claims Entitied to Priority under 11 u.s.c. § 507

Un|ess other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash
payments prior to the commencement of distributions to any other class (except that the payments to the Trustee
shall be made by deduction from each payment made by the debtor to the Trustee) as follows:

5.1

5.2

Allowed administrative expenses:

A. Trustee's compensation (10% of amounts paid by debtor under this Plan)

B. Attorney's Fees (estimated and subject to allowance)
C. Attorney's Costs (estimated and subject to allowance)

s *2,352.00
s 2,745.00
$ o.oo

Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:

$28,626.00

A. Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute

amounts provided by the plan.

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1. Priority support arrearage The debtor owes past due support to _~ [name] in the total of $___ [amount] that will be paid
as follows:

,,_`

[ ] Distributed by the Trustee pursuant to the terms of the P|an; or

[ ] The debtor is making monthly payments via a wage order[ ] or directly [ ] (reflected on Schedule l or
J) in the amount of $__ [amount] to __. Of that monthly amount, $__ [amount] is for current support
payments and $__ [amount] is to pay the arrearage.

2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with
the Court and submit to the Trustee an update of the required information regarding Domestic Support
Obligations and the status of required payments

 

B. Taxes
1. FederalTaxes $ *0.00
2. State Taxes $ *2,868.00
3. OtherTaxes
$ 0.00
[Describe]
4. Other Class One Claims, if any:
$ 0.00

 

[Describe]

_Class Two - Defaults

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6.1 Modification of Rights: lf debtor is proposing to modify the rights of creditors in Class Two, debtor must
specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

6.2 Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is
the debtor's principal residence located at [street address city, state, zip code]. Defaults shall be cured and
regular payments shall be made:

[ X] None

OR

Creditor Total Defau|t interest Total Amount No. of Regular Date of First
Amount to be Rate to Cure l\llonths to monthly Payment
Cured1 Arrearage Cure payment to be
made directly
to creditor

6.3 Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by
an interest in real
property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is
due after the date on which the final payment under the Plan is due Defaults shall be cured and regular payments
shall be made:

[X] None

OR

Creditor Description of Total Default interest Total No. of Regular Date of First
Collateral Amount to Rate Amount to |Vlonths monthly Payment
be Cured2 Cure to Cure payment to
Arrearage be made
directly to
creditor
6.4 Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following,

,-\

which are assumed:

1 The lesser of this amount or the amount specified in the Proof of Claim.
2 The lesser of this amount or the amount specified in the Proof of Claim.

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[Xj None
OR
Other Party to Lease or Property, if any, Subject to the Total Amount to No. of Regular Date of
Contract Contract or Lease Cure, if any l\llonths to monthly First
Cure payment to be Paymen
made directly t
to creditor

 

 

 

 

 

 

 

 

A. ln the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of
claim reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this
plan, failing which the claim may be barred.

mlass Three - All Other Allowed Secured Claims
Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1

7.2

7.3

Modification of Rights: lf debtor is proposing to modify the rights of creditors in Class Three, debtor must
specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

Adequate Protection: lf adequate protection payments are indicated, such payments will be made by the trustee
to the creditors indicated above until such time that superior class creditors are paid in full. Any adequate
protection payments made will be subtracted from the total amount payable Un|ess otherwise provided, adequate
protection payments will accrue from the date of filing but will not be made until the creditor has filed a timely
proof of claim_

Secured claims subject to 11 U.S.C. § 506 (Real Property): ln accordance with Fed. R. Bankr. P. 3012, 7004
and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination
of secured status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this plan and
below. The plan is subject to the court’s order on the debtor’s motion. lf the court grants the debtor's motion, the
creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of
claim, including such claims filed within thirty days from entry of an order determining secured status under Fed.
R. Bankr. P. 3002(0)(1) and (3). The creditors listed in Part 1.3 and below shall retain the liens securing their
claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge upon the debtor’s
successful completion of all plan payments and the closing of the case.

[Xj None
OR

 

 

Name of Creditor Description of Collateral Proof of Claim amount, if any
(pursuant to L.B.R. 3012-1)

 

 

 

 

7.4

Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this
chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding
the property and claims below. The creditors shall retain the liens securing their claims until discharge under 11
U.S.C. § 1328 or payment in full under nonbankruptcy law. '

[X] None
OR

A. The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the
allowed claim shall be treated as a general unsecured claim.

 

 

Creditor Description of Collateral Confirmation Amount of lnterest Adequate Total l-\mount

Value of Debt as Rate Protection Payable
Collateral Scheduled Payment

 

 

 

 

 

 

 

 

B. The following creditors shall be paid the remaining balance payable on the debt over the period required to
pay the sum in full.

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Creditor Description of Collateral Confirmation Amount of interest Adequate Total Amount
Value of Debt as Rate Protection Payable
-` Collateral Scheduled Payment
7.5 Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The

following creditors shall retain the liens securing their claims, and they shall be paid the amount specified which
represents the remaining balance payable on the debt over the period required to pay the sum in full:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[X] None
OR
Adequate
Amount of Debt lnterest protection Total Amount
Creditor Description of Collateral as Scheduled Rate payment Payable
7.6 Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an
allowed secured claim to the holder of such claim:
[ ] None
OR
Creditor Property Anticipated Date of Surrender
Wells Fargo Home Mortgage 132 Wagon Tongue Road Bailey, CO 10I15I2018
80421 Park County
Appraisa| 6I2017 used to determine
value.
7.7 Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered

property shall be deemed granted by the Court at the time of confirmation of this P|an. With respect to property
surrendered, no distribution on the creditor’s claim shall be made unless that creditor files a proof of claim or an
amended proof of claim to take into account the surrender of the property

m _Class Four - Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1

8.2

8.3

8.4

Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greateron

A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth
in Part 3.2; or

B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

Disposable lncome: The monthly disposable income of $__ [amount] has been calculated on Form 122C-1 or
1220-2, as applicable Total disposable income is $___ [amount] which is the product of monthly disposable
income of __~ [amount] times the applicable commitment period of __ [time period].

Classification of Claims:

A. [X] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after
payment by the Trustee of all prior classes;

OR
B. [ ] Class Four claims are divided into more than one class as follows:

Non-Dischargable Claims: Atimely filed claim, found by the Court to be non-dischargeable pursuant to 11
U.S.C. § 523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is
stayed until the case is dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise

class Five - Post-Petition claims Aiiowed under 11 u.s.c. § 1305 (if none indicatej
Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:

oR
le

None

'”" Part10 Other Provisions

10.1 Direct Payments: Payment Will be made directly to the creditor by the debtor(s) on the following claims'.

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Monthly Payment No. of Months
Creditor Collateral, if any Amount to payoff

 

 

-NONE-

 

 

 

 

 

10.2
10.3

10.4

Effective Date of P|an: The effective date of this P|an shall be the date of entry of the Order of Confirmation.
Order of Distribution:

A. [ X ] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13
Trustee’s fee shall be paid up to, but not more than, the amount accrued on actual payments made to date
After payment of the Class One creditors the amounts to be paid to cure the defaults of the Class Two A,
Class Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three,
Four, and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the
Class Three creditors shall be paid in full before distributions to creditors in Classes Four and Five.
Distributions under the plan to unsecured creditors will only be made to creditors whose claims are allowed
and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes
One Two A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1.

B. [ j Distributions to classes of creditors shall be in accordance with the order set forth above except:

 

[exceptions]

Motions to Void Liens under 11 U.S.C. § 522(f): ln accordance with Fed. R. Bankr. P. 4003(d), the debtor
intends to file or has filed, by separate motion served in accordance with Fed, R. Bankr. P. 7004, a motion to void
lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed in Part 1.4 and below:

 

Creditor Description of Collateral (pursuant to Date l\llotion to Void Date of Order Granting
L.B.R. 4003-2) Lien Filed l\llotion or Pending

 

 

-NONE-

 

 

 

 

 

10.5

10.6

10.7

10.8

Student Loans:
[X] No Student Loans
OR

[ ] Student Loans are to be treated as an unsecured Class Four claim or as follows:

 

[describe].
Restitution:
[ X] No Restitution

[ ] The debtor owes restitution in the total amount of $ [amount] which is paid directly

to [nameldescription] in the amount of $ [amount] per month for a period of [#] months; or as
follows:

[describe]

Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation
of this Plan.

lnsurance: lnsurance in an amount to protect liens of creditors holding secured claims is currently in effect and
will [ X ] will not[ ] [check one] be obtained and kept in force through the period of the P|an.

 

Creditor to Whom This Collateral Covered Coverage insurance Company, Policy No. and

App|ies Amount Agent Name Address and Telephone
No.

 

 

Wells Fargo Home 132 Wagon Tongue Road, Bailey, Full State Farm insurance coverage to be
Mortgage CO 80421

provided by Wells Fargo Home
l\llortgage because debtor is
surrenderi_ng propert

 

 

 

 

 

Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

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mPresumptively Reasonable Fee
The following election is made (check one box only):

[Zi Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the
allowance of the Presumptively Reasonable Fee must be made by the objection deadline to
confirmation.

OR

l:] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).
Part 12 Nonstandard P|an Provisions

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.

[ ] None
OR
[ x j The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2

The Debtor has a pending claim before the US Supreme Court. This claim relates to the applicability of the Fair Debt
Collection Practices Act (FDCPA) to nonjudicial foreclosures lf the appeal is successful, the resolution of this claim will
affect the foreclosure of the home and potentially invalidate any foreclosure proceeding with respect to 132 Wagon
Tongue Road, Bailey, CO 80421.

Thus, although this plan provides for surrender of this property, the debtor is not relinquishing his assertion that the
FDCPA applies to any non judicial foreclosure and his assertion that Wells Fargo Home llllortgage and its attorneys
McCarthy & Holthus LLP, have not complied with the validation requirements of the FDCPA. Further, apart from the
importance of the legal precedent, the debtor does not know whether he will receive any funds as a result of this claim.
Accordingly, the debtor agrees that, in the event he does receive money as a result of this claim, he will not spend any
funds therefrom without the trustee's review and approval and all funds will be held in trust by his bankruptcy counsel
pending such approval.

* Further, the Debtor agrees that he will pay over to the trustee any portion of this claim which is determined by the Court

to be non exempt. The exemption of this claim is pending approval by the Court but is currently subject to an objection
filed by the chapter 13 trustee

*Further, the debtor agrees that within 30 days of the resolution of his FDCPA claim to provide a complete accounting to
the chapter 13 trustee The debtor will in no instance disburse any portion of this claim without the trustee's advance
permission.

[describe].

m__$_i_Lnature of Debtor(s)' Attorney or Debtor (if unrepresented)

l certify that the wording and order of the provisions in this Chapter 13 P|an are identical to those contained in the Official
Form 3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.

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Date: 4!18119 By: lsl Stephen H. Swift

Stephen l-l. Swlft
j Signature
q Bar Number (if applicable): 14766 CO
Mailing Address: 733 East Costilla St.
Sultes A&B

Colorado Sprlggs, CO 80903
Telephone number: 119-520-0164

Facslmile number: 119-520-0248
Email address: swphen.swtf@swmww.nm

 

mveriflcat|on of Debtor r\
l declare under penalty Of Perju\'y that the foregoing ls true and correct ‘(D g § g 6
Date: 4l18I19 By: lsl Dennls . Obduskey

 

 

Dennis K. deuskey
Signature

 

Maillng Address: 604 Alpine Avenue Pueblo CO 81005-0000
Telephone number. 7195200164
Facsimile number

Email address: lnfo@swlftlaw.net

 

/`i

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